Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 1 of 28




      EXHIBIT 1116
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 2 of 28




      EXHIBIT 1297
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 3 of 28




         EXHIBIT 7238
        (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 4 of 28




      EXHIBIT 1085
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 5 of 28




      EXHIBIT 1288
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 6 of 28




      EXHIBIT 7358
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 7 of 28




      EXHIBIT 9734
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 8 of 28




      EXHIBIT 1249
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 9 of 28




      EXHIBIT 1565
     (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 10 of 28




       EXHIBIT 3628
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 11 of 28




       EXHIBIT 7527
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 12 of 28




       EXHIBIT 7529
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 13 of 28




       EXHIBIT 1085
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 14 of 28




       EXHIBIT 7807
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 15 of 28




       EXHIBIT 7409
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 16 of 28




       EXHIBIT 7387
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 17 of 28




       EXHIBIT 7107
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 18 of 28




       EXHIBIT 7207
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 19 of 28




       EXHIBIT 9748
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 20 of 28




       EXHIBIT 1219
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 21 of 28




       EXHIBIT 7242
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 22 of 28




       EXHIBIT 8045
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 23 of 28




       EXHIBIT 7332
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 24 of 28




       EXHIBIT 7845
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 25 of 28




       EXHIBIT 7235
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 26 of 28




       EXHIBIT 7341
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 27 of 28




       EXHIBIT 7223
      (Filed Under Seal)
Case 1:19-cr-10080-LTS Document 2292-1 Filed 09/27/21 Page 28 of 28




Defendants’ Summary
Chart and Spreadsheet
 (Filed Under Seal)
